Case 2:24-cv-03645-MEMF-PVC          Document 15    Filed 06/17/24   Page 1 of 14 Page ID
                                           #:93


   1    Omero Banuelos, SBN 228267
        415 W. Foothill Blvd., Suite 202
   2    Claremont CA 91711
        Phone: (909) 929-0737
   3
        Attorney for Raymond Zakhari
   4

   5

   6                           UNITED STATES DISTRICT COURT

   7                  FOR THE CENTRAL DISTRICT OF CALIFORNIA

   8

   9    Barkley & Associates, Inc.,
                                                   Case No. 2:24-cv-3645
   10   a California corporation,
   11                                              DEFENDANT RAYMOND
                        Plaintiff,
   12                                              ZAKHARI’S ANSWER TO
              v.                                   PLAINTIFF’S COMPLAINT FOR:
   13
                                                         (1) TRADEMARK
   14   Raymond Zakhari, an individual,                      INFRINGEMENT[15 U.S.C.
        Zeyad Asayed, an individual,                         § 1114]
   15
        Ayman Asayed, an individual,
                                                         (2) TRADEMARK
   16   and DOES 1-20,                                       COUNTERFEITING [15
                                                             U.S.C. § 1117(B)]
   17
                        Defendants.
                                                         (3) COPYRIGHT
   18                                                        INFRINGEMENT [17 U.S.C
                                                             §§ 101 ET SEQ.]
   19
                                                         (4) (4) LANHAM ACT UNFAIR
   20                                                        COMPETITION [15 U.S.C. §
                                                             1125(A)]
   21
                                                         (5) COMMON LAW
   22                                                        TRADEMARK
                                                             INFRINGEMENT
   23
                                                         (6) UNFAIR BUSINESS
   24                                                        PRACTICES [CAL. BUS. &
                                                             PROF. CODE§ 17200]
   25
                                                   DEMAND FOR JURY TRIAL
   26

   27

   28

                                                    1.
            DEFENDANT RAYMOND ZAKHARI RESPONSE TO COMPLAINT
Case 2:24-cv-03645-MEMF-PVC       Document 15      Filed 06/17/24   Page 2 of 14 Page ID
                                        #:94


   1          Defendant Raymond Zakhari (“Zakhari”) hereby submits its Answer to
   2
        Plaintiff’s Complaint. Defendant responds to each paragraph of the Complaint as
   3

   4    follows:

   5          Except as hereinafter admitted, qualified, or otherwise answered,
   6
        Defendant denies each and every allegation and assertion made in the Complaint.
   7

   8         FIRST CLAIM FOR RELIEF – TRADEMARK INFRINGEMENT

   9                                     [15 U.S.C. § 1114]
   10
        A. SUBJECT MATTER JURISDICTION
   11

   12         1.     Denied, except Defendant admits that the Court has subject matter

   13   jurisdiction over the claims under the federal Lanham Act, 15 U.S.C. § 1051 et
   14
        seq., pursuant to 28 U.S.C. §§1331 and 1338(a).
   15

   16         Defendant is without knowledge or information sufficient to form a belief as
   17   to the truth of the allegations of the first and second sentences of paragraph 1 of the
   18
        Complaint
   19

   20   B. THE PARTIES
   21         2.Defendant is without knowledge or information sufficient to form a belief
   22
        as to the truth of the allegations of paragraph 2 of the Complaint.
   23

   24         3. Defendant is without knowledge or information sufficient to form a belief
   25
        as to the truth of the allegations of paragraph 3 of the Complaint.
   26
        C. PERSONAL JURISDICTION AND VENUE
   27

   28         4. Denied.

                                                  2.
           DEFENDANT RAYMOND ZAKHARI RESPONSE TO COMPLAINT
Case 2:24-cv-03645-MEMF-PVC       Document 15     Filed 06/17/24     Page 3 of 14 Page ID
                                        #:95


   1          5. Denied.
   2
              6. Denied.
   3

   4          7. Defendant is without knowledge or information sufficient to form a belief

   5    as to the truth of the allegations of paragraph 7 of the Complaint.
   6
        D. FACTS
   7

   8          8. Defendant is without knowledge or information sufficient to form a belief

   9    as to the truth of the allegations of paragraph 8 of the Complaint.
   10
              9. Defendant is without knowledge or information sufficient to form a belief
   11

   12   as to the truth of the allegations of paragraph 9 of the Complaint.
   13         10. Defendant is without knowledge or information sufficient to form a
   14
        belief as to the truth of the allegations of paragraph 10 of the Complaint.
   15

   16         11. Denied.
   17         12. Denied.
   18
              13. Denied.
   19

   20         14. The complaint omits a paragraph 14.
   21         15. The complaint omits a paragraph 15.
   22
              16. Defendant does not know Zeyad Asayed or Ayman Asayed and is
   23

   24   therefore without knowledge or information sufficient to form a belief as to the
   25
        truth of the allegations of paragraph 16 of the Complaint.
   26
              17. Denied.
   27

   28         18. Denied.

                                                  3.
           DEFENDANT RAYMOND ZAKHARI RESPONSE TO COMPLAINT
Case 2:24-cv-03645-MEMF-PVC   Document 15   Filed 06/17/24   Page 4 of 14 Page ID
                                    #:96


   1         19. Denied.
   2
             20. Denied.
   3

   4         21. Denied.

   5         22. Denied.
   6
             23. Denied.
   7

   8         24. Denied.

   9         25. Denied.
   10
             26. Denied
   11

   12        27. Denied.
   13        28. Denied.
   14
             29. Denied.
   15

   16        30. Denied.
   17        31. Denied.
   18
             32. Denied.
   19

   20        33. Denied.
   21        34. Denied.
   22
             35. Denied.
   23

   24        36. Denied.
   25
             37. Denied.
   26
             38. Denied.
   27

   28        39. Denied.

                                            4.
          DEFENDANT RAYMOND ZAKHARI RESPONSE TO COMPLAINT
Case 2:24-cv-03645-MEMF-PVC       Document 15     Filed 06/17/24   Page 5 of 14 Page ID
                                        #:97


   1          40. Defendant is without knowledge or information sufficient to form a
   2
        belief as to the truth of the allegations of paragraph 40 of the Complaint.
   3

   4          41. Defendant is without knowledge or information sufficient to form a

   5    belief as to the truth of the allegations of paragraph 41 of the Complaint.
   6
              42. Denied.
   7

   8          43. Denied.

   9          44. Denied.
   10
              45. Denied.
   11

   12         46. Defendant is without knowledge or information sufficient to form a
   13   belief as to the truth of the allegations of paragraph 46 of the Complaint.
   14
              47. Defendant is without knowledge or information sufficient to form a
   15

   16   belief as to the truth of the allegations of paragraph 47 of the Complaint.
   17         48. Denied.
   18
              49. Denied.
   19

   20         50. Denied.
   21         51. Denied.
   22
              52. Denied.
   23

   24         53. Denied.
   25
              54. Denied.
   26
              55. Denied.
   27

   28         56. Denied.

                                                  5.
           DEFENDANT RAYMOND ZAKHARI RESPONSE TO COMPLAINT
Case 2:24-cv-03645-MEMF-PVC       Document 15     Filed 06/17/24   Page 6 of 14 Page ID
                                        #:98


   1

   2

   3
                   SECOND CLAIM FOR RELIEF – FEDERAL TRADEMARK
   4
                               COUNTERFEITING [15 U.S.C. § 1117(b)]
   5
              57. Responding to the allegations set forth in Paragraph 57 of the
   6

   7    Complaint, Defendant incorporates by reference the preceding paragraphs as

   8    though fully set forth herein.
   9
              58. Denied.
   10

   11         59. Defendant is without knowledge or information sufficient to form a

   12   belief as to the truth of the allegations of paragraph 58 of the Complaint.
   13
              60. Denied.
   14

   15         61. Denied.
   16         62. Denied
   17
              63. Denied.
   18

   19         64. Denied.
   20         65. Denied.
   21
                 THIRD CLAIM FOR RELIEF - COPYRIGHT INFRINGEMENT
   22

   23                                        [17 U.S.C. § 501]
   24         66. Responding to the allegations set forth in Paragraph 66 of the
   25
        Complaint, Defendant incorporates by reference the preceding paragraphs as
   26

   27   though fully set forth herein.
   28
              67. Denied.
                                                  6.
           DEFENDANT RAYMOND ZAKHARI RESPONSE TO COMPLAINT
Case 2:24-cv-03645-MEMF-PVC       Document 15     Filed 06/17/24   Page 7 of 14 Page ID
                                        #:99


   1          68. Defendant is without knowledge or information sufficient to form a
   2
        belief as to the truth of the allegations of paragraph 68 of the Complaint.
   3

   4          69. Defendant is without knowledge or information sufficient to form a

   5    belief as to the truth of the allegations of paragraph 69 of the Complaint.
   6
              70. Defendant is without knowledge or information sufficient to form a
   7

   8    belief as to the truth of the allegations of paragraph 70 of the Complaint.

   9          71. Defendant is without knowledge or information sufficient to form a
   10
        belief as to the truth of the allegations of paragraph 71 of the Complaint.
   11

   12         72. Denied.
   13         73. Denied.
   14
              74. Denied.
   15

   16         75. Denied.
   17         76. Denied.
   18
              77. Denied.
   19

   20         78. Denied.
   21         79. Denied.
   22
              80. Denied.
   23

   24         81. Denied.
   25

   26
              FOURTH CLAIM FOR RELIEF FALSE DESIGNATION OF ORIGIN
   27

   28

                                                  7.
           DEFENDANT RAYMOND ZAKHARI RESPONSE TO COMPLAINT
Case 2:24-cv-03645-MEMF-PVC       Document 15     Filed 06/17/24   Page 8 of 14 Page ID
                                       #:100


   1                        UNFAIR COMPETITION [15 U.S.C. § 1125(A)]
   2
              82. Responding to the allegations set forth in Paragraph 82 of the
   3

   4    Complaint, Defendant incorporates by reference the preceding paragraphs as

   5    though fully set forth herein.
   6
              83. Defendant is without knowledge or information sufficient to form a
   7

   8    belief as to the truth of the allegations of paragraph 83 of the Complaint.

   9          84. Denied.
   10
              85. Denied.
   11

   12         86. Denied.
   13         87. Denied.
   14
              88. Denied
   15

   16         89. Denied.
   17         90. Denied.
   18
              91. Denied.
   19

   20         92. Denied.
   21         93. Denied
   22
              94. Denied
   23

   24            FIFTH CLAIM FOR RELIEF – COMMON LAW TRADEMARK
   25
                        INFRINGEMENT [CALIFORNIA COMMON LAW]
   26
              95. Responding to the allegations set forth in Paragraph 95 of the
   27

   28

                                                  8.
           DEFENDANT RAYMOND ZAKHARI RESPONSE TO COMPLAINT
Case 2:24-cv-03645-MEMF-PVC       Document 15     Filed 06/17/24   Page 9 of 14 Page ID
                                       #:101


   1    Complaint, Defendant incorporates by reference the preceding paragraphs as
   2
        though fully set forth herein.
   3

   4          96. Defendant is without knowledge or information sufficient to form a

   5    belief as to the truth of the allegations of paragraph 83 of the Complaint.
   6
              97. Denied.
   7

   8          98. Denied.

   9          99. Denied.
   10
              100. Denied.
   11

   12         101. Denied.
   13         102. Denied.
   14
              103. Denied.
   15

   16         104. Denied
   17         105. Denied.
   18
              106. Denied.
   19

   20         107. Denied.
   21         108. Denied.
   22
              109. Denied
   23

   24         110. Denied
   25
              111. Denied.
   26
              112. Denied
   27

   28         113. Denied

                                                  9.
           DEFENDANT RAYMOND ZAKHARI RESPONSE TO COMPLAINT
Case 2:24-cv-03645-MEMF-PVC       Document 15     Filed 06/17/24   Page 10 of 14 Page
                                      ID #:102


  1               SIXTH CLAIM FOR RELIEF - UNFAIR BUSINESS PRACTICES
  2
                                [CAL. BUS. & PROF. CODE § 17200]
  3

  4          114. Responding to the allegations set forth in Paragraph 114 of the

  5    Complaint, Defendant incorporates by reference the preceding paragraphs as
  6
       though fully set forth herein.
  7

  8          115. Denied.

  9          116. Denied.
  10
             117. Denied.
  11

  12         118. Denied.
  13         119. Denied.
  14
             120. Denied.
  15

  16         121. Denied.
  17         122. Denied.
  18
             123. Denied
  19

  20         124. Denied.
  21         125. Denied.
  22

  23
                                    First Affirmative Defense
  24

  25   The Complaint fails, in whole or in part, to state a claim upon which relief can be
  26
       granted.
  27

  28

                                                 10.
          DEFENDANT RAYMOND ZAKHARI RESPONSE TO COMPLAINT
Case 2:24-cv-03645-MEMF-PVC      Document 15     Filed 06/17/24    Page 11 of 14 Page
                                     ID #:103


  1                               Second Affirmative Defense
  2
       Plaintiff is barred from asserting any claims because the Court does not have
  3

  4    personal jurisdiction.

  5                                    Defenses Reserved
  6
       Defendant hereby gives notice that it intends to rely upon any other defenses that
  7

  8    may become available or apparent during discovery in this matter and reserves the

  9    right to amend this Answer
  10
                                    PRAYER FOR RELIEF
  11

  12         WHEREFORE, Defendant respectfully requests that the Court enter a

  13   judgment:
  14
             1. Dismissing Plaintiff’s claims with prejudice and on the merits;
  15

  16         2. Awarding Defendant its costs of the suit herein;
  17         3. Awarding Defendant such attorney’s fees as may be allowed by
  18
       applicable law; and
  19

  20         4. Awarding Defendant such other relief as the Court may deem just and
  21   equitable under the circumstances.
  22
                                         Jury Demand
  23

  24   Defendant hereby demands a trial by Jury.
  25

  26

  27

  28

                                                11.
          DEFENDANT RAYMOND ZAKHARI RESPONSE TO COMPLAINT
Case 2:24-cv-03645-MEMF-PVC   Document 15     Filed 06/17/24   Page 12 of 14 Page
                                  ID #:104


  1    Dated: June 17, 2024
  2                                      _____________________________
                                         Omero Banuelos
  3                                      Attorney for Defendant
  4                                      Raymond Zakhari

  5

  6

  7

  8

  9

  10

  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28

                                             12.
          DEFENDANT RAYMOND ZAKHARI RESPONSE TO COMPLAINT
Case 2:24-cv-03645-MEMF-PVC   Document 15    Filed 06/17/24   Page 13 of 14 Page
                                  ID #:105
Case 2:24-cv-03645-MEMF-PVC            Document 15        Filed 06/17/24     Page 14 of 14 Page
                                           ID #:106



  1                                        PROOF OF SERVICE

  2
           I, M’Lee Munoz, am over the age of 18 and not a party to this action. My place of business
  3 is 415 W. Foothill Blvd, Suite 202, Claremont, CA 91711. On June 17, 2024, I served the
    following documents:
  4
                             DEFENDANTS’ ANSWER TO COMPLAINT
  5
           on the person(s) listed below in the following manner/s:
  6

  7                BY UNITED STATES CERTIFIED MAIL WITH RETURN RECEIPT. I
                   enclosed the documents in a sealed envelope or package addressed to the
  8                person(s) at the addresses below and placed the envelope for collection and
                   certified mailing with return receipt following our ordinary business practices. I
  9                am readily familiar with this business' practice for collecting and processing
                   documents for mailing. On the same day that correspondence is placed for
 10                collection and certified mailing with return receipt, it is deposited in the
                   ordinary course of business with the United States Postal Service in a sealed
 11                envelope with postage fully prepaid.

 12                BY NEXT DAY DELIVERY. I enclosed the documents in an envelope or
                   package provided by an overnight delivery carrier and addressed to the
 13                person(s) at the addresse(s) below and placed the envelope for collection and
                   mailing following our ordinary business practices. I am readily familiar with
 14                this business's practice for collecting and processing documents for overnight
                   delivery. On the same day that correspondence is placed for collection and
 15                overnight delivery, it is deposited in the ordinary course of business with an
                   overnight delivery service in a sealed envelope with all fees fully prepaid.
 16
                   BY ELECTRONIC MAIL. I sent the persons below copies of the documents
              X    via electronic mail at the email addresses below.
 17

 18
      The following parties were served the above-referenced documents:
 19
    Brian Tamsut
 20 btamsut@socalip.com

 21
           I declare under penalty of perjury under the laws of the State of California that the
 22 foregoing is true and correct.

 23
      DATED: June 17, 2024
 24
                                                      __/s/ M’Lee Munoz_________________
 25                                                   M’Lee Munoz
 26

 27

 28

                                           CERTIFICATE OF SERVICE
